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                     UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA

                                     Norfolk Division

   BASF PLANT SCIENCE, LP,                  )
                                            )
              Plaintiff,                    )
                                            )
        v.                                  )
                                            )
  COMMONWEALTH SCIENTIFIC AND               )
  INDUSTRIAL RESEARCH                       )
  ORGANISATION,                             )
                                            )
              Defendant.                    )           C.A. No. 2:17-CV-503-HCM
  ____________________________________ )
  COMMONWEALTH SCIENTIFIC AND               )           JURY TRIAL DEMANDED
  INDUSTRIAL RESEARCH                       )
  ORGANISATION, GRAINS RESEARCH             )
  AND DEVELOPMENT CORP., AND                )
  NUSEED PTY LTD.,                          )
                                            )
               Plaintiffs-Counterclaimants, )
                                            )
        v.                                  )
                                            )
  BASF PLANT SCIENCE, LP, AND               )
  CARGILL, INCORPORATED,                    )
                                            )
              Defendants-                   )
              Counterdefendants,            )
                                            )
  BASF PLANT SCIENCE GMBH,                  )
                                            )
              Counter-Counterclaimant.      )
                                            )


   PROPONENTS’ MEMORANDUM IN SUPPORT OF MOTIONS FOR JUDGMENT AS
   A MATTER OF LAW AND A NEW TRIAL AS TO JURY ISSUES NOT DECIDED BY
                VERDICT UNDER FED. R. CIV. P. 50(B) AND 59
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         Commonwealth Scientific and Industrial Research Organisation (“CSIRO”), Grains

  Research and Development Corporation (“GRDC”), and Nuseed Pty. Ltd. (“Nuseed”)

  (collectively, “Proponents”) respectfully request that the Court: enter judgment as a matter of law

  or grant a new trial in favor of Proponents on BASF Plaint Science LP’s (“BASF”) and Cargill,

  Incorporated’s (“Cargill”) (collectively, “Opponents”) claim of ownership of U.S. Patent No.

  9,994,792 (“’792 Patent” or “Group B patent”) under the Materials Transfer and Evaluation

  Agreement (“MTEA”), and grant a new trial as to willful infringement of, and a reasonable royalty

  for past infringement of, at least U.S. Patent Nos. 9,951,357 (“’357 Patent”); 9,926,579 (“’579

  Patent.”); 9,994,880 (“’880 Patent”); and 9,970,033 (“’033 Patent”) (collectively, “Group A

  patents”), the ’792 Patent and U.S. Patent No. 9,931,541 (“’541 Patent” or “Group D patent”).1

         The Court erred in allowing Opponents to present their MTEA claim to the jury because

  (among other reasons) that contract claim is barred by the applicable statute of limitations for

  breach claims and also because the contract provides that the exclusive jurisdiction for adjudication




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    This motion and memorandum are being filed out of an abundance of caution and only address
  issues for which it may be argued that the post-trial motion deadline is triggered by the date of the
  jury’s discharge. See Fed. R. Civ. P. 50(b) (“No later than 28 days after the entry of judgment—
  or if the motion addresses a jury issue not decided by a verdict, no later than 28 days after the jury
  was discharged—the movant may file a renewed motion for judgment as a matter of law and may
  include an alternative or joint request for a new trial under Rule 59.” (emphasis added)); see also
  Fed. R. Civ. P. 6(b)(2) (“A court must not extend the time to act under Rules 50(b) and (d), 52(b),
  59(b), (d), and (e), and 60(b).”). For the sake of clarity, by including certain arguments in this
  motion, Proponents do not concede that a post-trial motion is necessary for preservation of such
  arguments or that the deadline for post-trial motions with regard to such arguments is 28 days after
  discharge of the jury. Importantly, Proponents will be filing additional post-trial motions and
  memoranda on issues (including issues related to the matters raised here, such as BASF’s co-
  ownership claim concerning the ’792 Patent) for which it is beyond dispute that the post-trial
  motion deadline is triggered by the date that the Court enters a judgment on the jury’s verdict. See,
  e.g., Fed. R. Civ. P. 50(b); Fed. R. Civ. P. 59(b). To date, the Court has not yet entered judgment
  and therefore the deadline for such motions has not yet been triggered.
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  of disputes concerning the contract is the courts of the Australian Capital Territory. A judgment

  finding that BASF is not a co-owner of the ’792 Patent should thus be entered.

         In addition, the Court also erred in refusing to submit the question of willful infringement

  to the jury, which constituted a sua sponte judgment as a matter of law as to this issue for which

  Proponents now seek a new trial. There was sufficient evidence for the jury to consider and find

  that Opponents had knowledge of the infringed patents, and notwithstanding such knowledge,

  engaged in infringing conduct.      Similarly, the Court erred in precluding Proponents from

  presenting evidence concerning a reasonable royalty to the jury for past infringement, and by

  ultimately dismissing the jury before the conclusion of the damages phase and before the jury

  rendered a verdict on a reasonable royalty for past infringement. Given that the jury found past

  infringement, Proponents were entitled to have the jury enter a verdict on past damages of no less

  than a reasonable royalty. But Proponents’ Georgia Pacific evidence of a reasonable royalty for

  past infringement was precluded and the jury was discharged before hearing Proponents’ evidence

  as to the proper reasonable royalty.      This left Proponents with no reasonable royalty for

  Opponents’ past infringement. Accordingly, for the reasons set forth in more detail below, the

  Court should grant judgment as a matter of law and/or a new trial as set out herein.

  I.     BACKGROUND

         BASF initially filed a declaratory judgment action involving some of CSIRO’s patents in

  April 2017 in the District of Delaware. See Complaint at 1–28, BASF Plant Science, LP v. Nuseed

  Americas Inc., 17-CV-241-MAK (D. Del. Apr. 13, 2017). In its original complaint, BASF did not

  allege that it owned any of those patents (all of which were litigated at some point in the present

  action) as a result of any agreement between BASF and any other party. See id. That action was

  ultimately dismissed for lack of declaratory judgment jurisdiction in August 2017. See BASF Plant



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  Sci., LP v. Nuseed Americas Inc., No. 17-CV-421, 2017 WL 3573811, at *3–7 (D. Del. Aug. 17,

  2017).

           In September 2017, BASF initiated the present declaratory judgment action against

  Proponents. See, e.g., Complaint (Dkt. No. 1) at 1–33. In doing so, BASF again did not allege

  that it owned any of CSIRO’s patents. See id. It was not until January 2019 that BASF raised a

  non-infringement defense styled as a breach-of-contract claim under a Materials Transfer and

  Evaluation Agreement (“MTEA”) between BASF and CSIRO. See BASF’s Answer and Amended

  Affirmative Defenses to Counterclaimants’ Amended Counterclaims and BASF’s Amended

  Counterclaims Against Counterclaimants (Dkt. No. 165) at 46, 55–62. Proponents then filed a

  motion to dismiss BASF’s MTEA claim for forum non conveniens on the basis that the MTEA

  contained an explicit forum-selection clause requiring the MTEA claim to be brought in the

  Australian Central Territory (“ACT”). See April 10, 2019 Minutes of Proceedings in Open Court

  (Dkt. No. 258); Counterclaimants’ Motion to Dismiss BASF’s Amended Counterclaims Against

  Counterclaimants for Breach of Forum Selection Clause (Dkt. No. 177). The motion was denied.

           As this action progressed towards trial, Proponents’ filed, inter alia, a summary judgment

  motion seeking to bar the MTEA claim from adjudication at trial because it was untimely as a

  matter of law under the applicable statute of limitations. See Counterclaimants’ Memorandum in

  Support of Motion for Summary Judgment (Dkt. No. 453) at 29; Counterclaimants’ Motion for

  Summary Judgment (Dkt. No. 448). Proponents maintained this argument in the pretrial

  order. See Proposed Final Pretrial Order (Dkt. No. 682) at 55 (“CSIRO, Nuseed, and GRDC have

  moved for summary judgment with regard to the Inventorship and Ownership Counterclaims. Dkt.

  No. 448.”). The Court did not rule on this motion prior to the start of trial.




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         The Court held a pre-trial conference on October 3, 2019. During that conference, it

  bifurcated trial into liability and damages (with liability further bifurcated into infringement and

  validity phases). Oct. 3, 2019 Pre-Trial Hr’g Tr. at 8:2–9:11. For purposes of trial, the patents-in-

  suit were classified into the groups below.

                       Groups                                       U.S. Patent Nos.
                          A                            ’357 Patent; ’579 Patent; ’880 Patent; and
                                                                      ’033 Patent”

                          B                                            ’792 Patent
                          C                                            ’346 Patent
                          D                                            ’541 Patent
                          E                                    10,125,084 (“’084 Patent”)


  Opponents stipulated to infringement of the Group A, B and E patents before trial. CX-1884

  (Amended Stipulation (Dkt. No. 692)).

         On October 16, 2019, this Court began a 16-day trial. During the course of trial, Proponents

  sought judgment as a matter of law under Fed. R. Civ. P. 50(a), inter alia, that any applicable

  statute of limitation barred the MTEA claim. See Proponents’ Supplemental Memorandum in

  Support of [Their] Motion for Judgment as a Matter of Law to Address Additional Bases for Relief

  Under Fed. R. Civ. Proc. 50 (Dkt. No. 783) at 1. Additionally, the Court decided, over Proponents’

  objections, inter alia, that: (1) the jury would not be instructed on the statute of limitations

  instruction with respect to the MTEA claims and those claims would be submitted to the jury for

  a verdict on liability (effectively denying Proponents’ summary judgment and JMOL motions);

  (2) the question of willful infringement would not be submitted to the jury; and (3) there would be

  no jury trial as to a reasonable royalty for past infringement during the damages phase. See, e.g.,

  Trial Tr. at 1650:9–18, 1821:22–1827:11, 1926:12–1928:11, 1930:9–1933:16, 2238:19–2255:12.


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  For purposes of the current motion, the jury found, in relevant part, that Opponents infringed the

  Group A, B, D, and E patents and that Opponents owned the Group B patent. See Jury Verdict

  Form (Dkt. No. 788) at 2, 5.

         Proponents now seek judgment as a matter of law and/or a new trial based on the

  aforementioned rulings of this Court.

  II.    LEGAL STANDARDS

         Under Federal Rule of Civil Procedure 50(a), a court may grant a motion for judgment as

  a matter of law (“JMOL”) during a jury trial after a party has been fully heard on an issue only if

  it “finds that a reasonable jury would not have a legally sufficient evidentiary basis to find for the

  party on that issue.” Fed. R. Civ. P. 50(a). Before doing so, the court must examine the evidence

  in the light most favorable to the non-moving party and afford it “the benefit of every reasonable

  inference that could be drawn from the evidence, neither weighing the evidence nor assessing its

  credibility.” Sales v. Grant, 158 F.3d 768, 775 (4th Cir. 1998). If “reasonable minds could differ

  as to the conclusion to be drawn from the evidence,” then a Rule 50(a) JMOL is improper. Id. If

  the court improperly grants a Rule 50(a) motion, a new trial must be had on the issue in which it

  granted judgment as a matter of law. See, e.g., id. at 770, 775–80, 781 (remanding for new trial

  where Rule 50(a) motion was granted erroneously); Lawley v. Northam, No. 10-CV-1074 (ELH),

  2013 WL 1786484, at *10 (D. Md. Apr. 24, 2013) (noting that remedy for granting of improper

  Rule 50(a) motion is “holding a new trial”); see also § 2533 Motion for Judgment as a Matter of

  Law Before Submission, Wright & Miller (3d ed.) (“If judgment as a matter of law is granted and

  the appellate court holds that the evidence in fact was sufficient to go to the jury, an entire new

  trial must be had.”).

         Under Federal Rule of Civil Procedure 50(b), a party must renew its Rule 50(a) motion or



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  file a motion seeking a new trial under Rule 59(a), if the basis of the motion relates to “a jury issue

  not decided by a verdict, no later than 28 days after the jury was discharged . . . .” Fed R. Civ.

  50(b). And under Federal Rule of Civil Procedure 59(a), the court may grant a new trial “for any

  reason for which a new trial has heretofore been granted in an action at law in federal court . . . .”

  Fed. R. Civ. P. 59(a). This would include an erroneous grant of Rule 50(a) relief. See supra.

  Lastly, in this case the law of the Fourth Circuit controls matters of procedure that do not implicate

  substantive patent law, including Rule 50 and 59 motions. See, e.g., Duro-Last, Inc. v. Custom

  Seal, Inc., 321 F.3d 1098, 1106 (Fed. Cir. 2003).

  III.      ARGUMENT

         A. The Court Should Grant Judgment as a Matter of Law That the Breach-of-Contract
            Claim Was Barred by the Statute of Limitations or a New Trial on the Claim.

            Proponents respectfully submit this motion under Federal Rule of Civil Procedure 50(b) to

  renew their Supplemental Motion for Judgment as a Matter of Law to Address Additional Bases

  for Relief Under Fed. R. Civ. Proc. 50 (Dkt. No. 783), which Proponents filed on October 31,

  2019, as well as under Federal Rule of Civil Procedure 59(a). In that motion, Proponents sought

  a judgment as a matter of law that, inter alia, BASF’s breach-of-contract claim was barred by the

  applicable statute of limitations.

            Proponents raised their statute of limitations defense in their Motion for Summary

  Judgment. See Counterclaimants’ Memorandum in Support of Motion for Summary Judgment

  (Dkt. No. 453) at 29–30; Counterclaimants’ Motion for Summary Judgment (Dkt. No. 448). As

  Proponents explained, the statute of limitations applicable to Opponents’ breach-of-contract claim

  under the MTEA agreement is either “five years under Virginia law” or “six years under the law




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  of the Australian Capital Territory.”2 Counterclaimants’ Memorandum in Support of Motion for

  Summary Judgment (Dkt. No. 453) at n.11. BASF first brought its breach-of-contract claims under

  the MTEA when it filed its Amended Counterclaims in January 2019, almost a decade after they

  accrued, in 2009 (when Proponents first filed patent applications that allegedly used information

  disclosed during the MTEA discussions). Because the limitation period has lapsed, BASF’s co-

  ownership claims based on CSIRO’s alleged breach of the MTEA are time-barred as a matter of

  law.

         In opposing summary judgment based upon the statute of limitations, Opponents claimed

  that the statute had not run because “BASF does not allege that CSIRO breached the MTEA in

  2009” because the agreement provides that ownership rights vest “immediately upon creation” and

  thus “BASF became a joint owner of the intellectual property created during the BASF-CSIRO

  collaboration immediately upon its creation.” BASF/Cargill’s Memorandum in Opposition to

  Counterclaimants’ Motion for Summary Judgment (Dkt. No. 547) at 29 (emphasis added). In other

  words, BASF claims that there never was a breach of the agreement which triggered accrual of the

  statute of limitations. Id. During the pretrial motions hearing, BASF also contended that the

  statute of limitations accrued when Proponents asked BASF to take a license in 2016. September

  24, 2019 Motions Hearing Tr. at 83:5–84:12.

         During trial, however, BASF made two key decisions that undermined its earlier

  arguments. First, BASF dropped any claim based upon a co-inventorship theory and therefore



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    The law of the Australian Capital Territory (ACT) is the law selected by the MTEA’s choice-
  of-law clause. Chan Decl., Ex. 1 (JX-52 (MTEA) at CSI00106419 (“The Agreement is governed
  by the law in force in The Australian Capital Territory and the Parties submit to the exclusive
  jurisdiction of the courts of the Australian Capital Territory.”). However, as there is no material
  difference in the law, there is no need for the Court to “resolve the choice-of-law question.” World
  Fuel Servs. Trading, DMCC v. Hebei Prince Shipping Co., 783 F.3d 507, 514 (4th Cir. 2015).
  BASF has never suggested that law other than Virginia law or ACT law applies.
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  elected to proceed exclusively under a contract theory. Trial Tr. at 1173:13–1174:1. Second,

  BASF conceded that its MTEA claim was a breach-of-contract claim. Id. at 1814:2–10; see also

  id. at 2105:13–16. Indeed, as the Court repeatedly pointed out, the only coherent theory of

  recovery under the contract was a claim of breach. E.g., id. at 1478:16–19; 1812:7–11; 1814:2–

  10.

         BASF’s concession of the foundation for its opposition to summary judgment and/or

  judgment as a matter of law based upon statute of limitations is fatal to the viability of its MTEA

  claims. Because co-inventorship has been dropped, BASF’s prior argument regarding accrual—

  that the “key date for triggering” the statute of limitations for the MTEA was in October 2016,

  when Proponents “first attempted to enforce [the] patents”—is no longer viable. September 24,

  2019 Motions Hearing Tr. at 83:5–84:12.

         When the proper focus is turned to the date of breach, it is plain that the claim accrued no

  later than 2009. BASF itself has contended that it became the joint owner by operation of the

  contract of the intellectual property in question “during the BASF-CSIRO collaboration” in 2008

  and 2009.    BASF/Cargill’s Memorandum in Opposition to Counterclaimants’ Motion for

  Summary Judgment (Dkt. No. 547) at 29. The MTEA’s term began in March 1, 2008, and the

  “Joint Results” (the information that was allegedly used in breach of the contract) were shared in

  August 2009. Chan Decl., Ex. 1 (JX-52 (MTEA) at CSI00106410–11)3; Chan Decl., Ex. 2 (PX-

  222 (Presentation entitled: “Joint program on PUFA CSIRO – BPS”)). Under BASF’s theory of

  breach, the jointly owned material was misused (and therefore there was a breach) when CSIRO

  filed applications seeking claims including a Brassica napus limitation in July 2009. See, e.g.,



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   All exhibits are attached to the Declaration of Hugham Chan in Support of Proponents’
  Motions for Judgment as a Matter of Law and a New Trial as to Jury Issues Not Decided by
  Verdict Under Fed. R. Civ. P. 50(b) and 59 (“Chan Decl.”).
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   BASF’s Answer and Amended Affirmative Defenses to Counterclaimants’ Amended

   Counterclaims and BASF’s Amended Counterclaims Against Counterclaimants (Dkt. No. 161) ¶

   51; Final Pretrial Order (Dkt. No. 682) at 43 (¶¶ 184–85); Trial Tr. at 102:1–10, 109:22–111:18,

   707:9–22, 760:14–762:5; 874:22–875:3, 877:15–21, 879:13–880:16, 1199:6–1203:5; 2104:7–

   2105:18.   Notably, the priority applications underlying the ’792 Patent were filed in 2008

   (provisional) and 2009 (non-provisional). Chan Decl., Ex. 3 (JX-12 (’792 Patent) at [60], [63]).

   The contract provides that the breach occurs upon the use of jointly owned property outside of the

   expressly authorized purposes identified in the agreement. Chan Decl., Ex. 1 (JX-52 (MTEA) §

   6.5). As such, the alleged breach of the contract—i.e., CSIRO’s use of allegedly co-owned

   materials—occurred no later than 2009, more than six years before the claims were first brought

   in January 2019. The claims are therefore barred as a matter of law. At the very least, a new trial

   should be granted so that a jury can apply the appropriate statute of limitations to any evidence

   about when Opponents’ MTEA claim started to accrue. See, e.g., Bethel Inv. Co. v. City of

   Hampton, 272 Va. 765, 770 (2006).

          BASF has never contended that the statute of limitations would be tolled based upon its

   lack of knowledge of the breach. Nor could BASF so contend; even assuming that ignorance of

   the breach could toll the limitations period, BASF can claim no such ignorance because BASF

   concedes it has been aware of CSIRO’s patent applications at least as early as 2010, approximately

   nine years before it brought the MTEA claim. See Supplemental Motion for Judgment as a Matter

   of Law to Address Additional Bases for Relief Under Fed. R. Civ. Proc. 50 (Dkt. No. 783); Trial

   Tr. at 1033:1–1037:10; 1072:6–1073:23, 1215:1–1216:22, 1218:8–1220:14. Accordingly, the

   Court should enter judgment that BASF’s claim based upon an alleged breach of the MTEA is

   time-barred, and set aside the jury’s verdict that BASF is a co-owner of the ’792 Patent, or in the



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   alternative, a new trial should be granted so that a jury can decide whether Opponents brought

   their claim within the statute of limitations.

       B. The MTEA’s Forum Selection Clause Required the MTEA Claim to Have Been
          Resolved in Australia and Not in the U.S.

           Proponents respectfully seek judgment as a matter of law that Opponents’ breach-of-

   contract claim under the MTEA should have been dismissed pursuant to the doctrine of forum non

   conveniens because the contract provides that the exclusive forum in which that dispute can be

   resolved is the courts of the Australian Capital Territory (ACT). See Motion to Dismiss BASF

   Plant Science GmbH’s Amended Counterclaims Against Counterclaimants for Lack of

   Jurisdiction (Dkt. No. 177). Finding that the MTEA’s forum selection clause did not survive

   termination (because it was not listed in the survival clause), and applying a traditional forum non

   conveniens analysis, the Court denied Proponents’ motion to dismiss on this basis. May 7, 2019

   Opinion and Order (Dkt. No. 278) at 13. Separately, the Court ruled that even if it applied the

   forum selection clause, the public interest would require adjudicating BASF’s MTEA claims in

   the Eastern District of Virginia.      Id. at 15.    For the reasons explained below, Proponents

   respectfully submit that as a matter of law the appropriate forum for adjudicating the MTEA claim

   is Australia.

           As Proponents explained in the briefing in support of their Motion to Dismiss, the

   consensus of courts in the United States and Australia is that procedural clauses such as forum

   selection clauses survive termination of a contract even if their survival is not expressly called out

   by the applicable survival clause. Counterclaimants’ Reply in Support of [Their] Motion to

   Dismiss BASF Plant Science, LP’s and BASF Plant Science GmbH’s Amended Counterclaims

   Against Counterclaimants (Dkt. No. 193) at 4–5. Under both Australian and U.S. law, “neither

   termination nor cancellation [of an agreement] affect those terms that relate to the settlement of


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   disputes or choice of law or forum selection clauses.” 13 Corbin on Contracts § 67.2 (2018).

   Further, as Proponents explained, “courts repeatedly have upheld the applicability of forum-

   selection clauses even where the contract expressly provides for the survival of certain enumerated

   provisions but not the forum-selection clause.”4 Counterclaimants’ Reply in Support of [Their]

   Motion to Dismiss BASF Plant Science, LP’s and BASF Plant Science GmbH’s Amended

   Counterclaims Against Counterclaimants (Dkt. No. 193) at 5.

          BASF cited a single, unpublished case from the Northern District of Texas, TSI USA, LLC

   v. Uber Techs., Inc., No. 3:16-cv-2177-L, 2017 WL 106835 (N.D. Tex. Jan. 11, 2017), to support

   the opposite conclusion that a forum selection clause must be expressly included in a survival

   clause to survive termination.     Id. Relying heavily on that same case—and the fact that the

   survival clause of the MTEA did not expressly mention the forum selection clause—the Court

   found that “the plain language of the survival clause compels a finding that the intent of the parties

   as expressed in the contract indicates that the choice of forum clause did not survive termination

   of the agreement.” May 7, 2019 Opinion and Order (Dkt. No. 278) at 13. However, as Proponents

   explained, the Uber case cited by BASF is an outlier on the issue. See, e.g., Strata Heights Intern.

   Corp. v. Petroleo Brasileiro, S.A., 67 F. App’x 247, 2003 WL 21145663, *7–8 (5th Cir. 2003);

   Counterclaimants’ Reply in Support of [Their] Motion to Dismiss BASF Plant Science, LP’s and

   BASF Plant Science GmbH’s Amended Counterclaims Against Counterclaimants (Dkt. No. 193)



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     Sensify (US) Inc. v. Intelligent Telematics N. Am., Inc., No. 16-24069, 2017 WL 1541424, at *2
   (S.D. Fla. Apr. 28, 2017); accord Marcotte v. Micros Sys., Inc., No. C 14-01372 LB, 2014 WL
   4477349, at *9 (N.D. Cal. Sept. 11, 2014); TriState HVAC Equip., LLP v. Big Belly Solar, Inc.,
   752 F. Supp. 2d 517, 534 (E.D. Pa. 2010); Versar, Inc. v. Ball, No. CIV.A. 01–1302, 2001 WL
   818354, at *2 (E.D. Pa. July 12, 2001); Texas Source Group, Inc. v. CCH, Inc., 967 F. Supp. 234,
   238 (S.D. Tex. 1997); Allied Sound, Inc. v. Dukane Corp., 934 F. Supp. 272, 275 (M.D. Tenn.
   1996); Young Women’s Christian Ass’n of the U.S. v. HMC Entm’t, Inc., No. 91 Civ. 7943 (KMW),
   1992 WL 279361, at *4 (S.D.N.Y. Sept. 25, 1992); Advent Elecs., Inc. v. Samsung Semiconductor,
   Inc., 709 F. Supp. 843, 846 (N.D. Ill. 1989).
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   at 5. Further, requiring parties to include all clauses intended to survive termination in a survival

   clause would lead to the absurd result of voiding a number of clauses vital to the protection of the

   parties’ rights under the MTEA, which similarly were not included in the survival clause.5 May

   7, 2019 Opinion and Order (Dkt. No. 278) at 5–6. These include, for example, the “Survival”

   provision itself and the provision defining the term of the agreement (Clauses 2.1 and 11.4); the

   provision governing notices (Clause 12); the provision providing that the rights under the

   agreement may only be waived in writing (Clause 14.4); the provision providing that if any portion

   of the agreement is deemed unenforceable, then the remaining portions will be severed and still

   operative (Clause 14.5c); the entire-agreement clause (Clause 14.5a); and the clause requiring that

   each party “must do anything . . . that the other Party may reasonably require to give full effect to

   this Agreement” (Clause 14.3). Chan Decl., Ex. 1 (JX-52 (MTEA) at CSI00106413, 106418–20).

   It makes no sense to interpret the contract to eliminate these essential procedural provisions upon

   expiration.

          The contract as a whole evinces an intent that disputes be tried in the exclusive forum

   identified therein. Indeed, it would make no sense for the parties to decide that disputes concerning

   ownership of intellectual property be adjudicated exclusively in the ACT courts, but immediately

   upon expiration the disputes could be adjudicated anywhere in the world. The contract’s text and

   structure reflect that the parties envisioned that such disputes would not be brought during the brief

   term of the contract but instead would have to be brought afterwards. For example, the contract




   5
       The Court also expressed its disbelief that for the “proposition that legal professionals
   negotiating what clauses would survive a contract’s termination” would “omit the choice of forum
   clause, unless they did not intend that it survive.” May 7, 2019 Opinion and Order (Dkt. No. 278)
   at 13. In fact, parties routinely choose to omit terms from a given clause—for example, as here, a
   procedural term from the survival clause of a contract—to avoid interpretation of such clauses “as
   an exhaustive statement of the parties’ intention.” Carter on Contracts, Section 38-070.
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   envisions that if the parties enter into a long-term collaboration they would draft a superseding

   agreement. See Chan Decl., Ex. 1 (JX-52 (MTEA) § 7). That demonstrates that if the parties

   decided not to pursue a collaboration, the MTEA terms would govern the disposition and use of

   the materials, results and property created during the evaluation after the term ended and the

   agreement terminated. In fact, the Agreement expressly provides that in the event that the parties

   did not enter into a long-term collaboration, they were required to confer regarding arrangements

   for accessing jointly owned property after expiration of the contract. Chan Decl., Ex. 1 (JX-52

   (MTEA) § 11.3(d)). The agreement has numerous terms reflecting that the parties envisioned that

   numerous obligations could be breached (and therefore disputes would arise) after expiration. See,

   e.g., Chan Decl., Ex. 1 (JX-52 (MTEA) § 6.5 (restricting right to use jointly owned property

   outside of the evaluation) and 8.1 (restricting rights to use and disclose confidential information

   outside of the evaluation)). As such, interpreting the exclusive jurisdiction clause to be limited to

   the contract’s term would render that bargained-for provision functionally meaningless—a result

   foreclosed both by Australian and Virginia law. Chan Decl., Ex. 4 (Expert Report of Justice Susan

   Crennan AC QC (Dkt. No. 484-4) ¶ 25) (contractual terms are to be construed “in the context

   afforded by a reading of the document as a whole”); id. ¶ 25 (“A commercial contract is to be

   construed so as to avoid it making commercial nonsense or working commercial

   inconvenience.”)); Chan Decl., Ex. 5 (Expert Report of Richard Cobden AC (Dkt. No. 606-4) ¶

   43) (“An agreement is to be construed as a whole . . . and the words of every clause must if possible

   be construed so as to render them all harmonious one with another”); see also e.g., CoreTell

   Virginia, LLC v. Verizon Virginia LLC, 752 F.3d 364, 370 (4th Cir. 2014) (“the cardinal principle

   of contract construction [is]…that a document should be read to give effect to all its provisions”

   (citations and quotations omitted)).



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          Separately, the Court held that it would deny CSIRO’s motion even if it applied the forum

   selection clause because the “public interests would outweigh the pull of the clause.” May 7, 2019

   Opinion and Order (Dkt. No. 278) at 15. Significantly, the Court reached this ruling at a time

   when BASF was pursuing both co-inventorship and co-ownership claims under the MTEA. At

   trial, however, BASF dropped its co-inventorship claim, limiting its MTEA-based contentions to

   a breach-of-contract claim. Trial Tr. at 1173:13–1174:1; 1478:16–19; 1812:7–11; 1814:2–10.

   BASF’s MTEA claim in its final form plainly does not implicate the same public interests as before

   BASF dropped its co-inventorship claim. In particular, while the United States may arguably have

   a substantial interest in resolving BASF’s co-inventorship claim because that claim turned on

   whether CSIRO rightfully obtained its patents under U.S. patent law,6 BASF’s abandonment of

   co-inventorship tilts the interests definitively in the opposite direction because the remaining

   breach claim concerns a contract that was formed in Australia, is governed by Australian law, was

   performed in Australia and Germany (but not the United States), is between Australian and

   German entities, and does not require application of U.S. law. The Australian courts therefore

   have the predominant if not exclusive interest in adjudicating such a claim.

          The Court also cited the potential duplication of party and court efforts as a factor

   counseling against enforcement of the forum selection clause. May 7, 2019 Opinion and Order

   (Dkt. No. 278) at 14–15. However, enforcing the clause would not result in significant re-

   litigation, since the only claim at issue is BASF’s breach-of-contract claim. Much if not all of the

   necessary discovery relating to this claim has already been completed. Indeed, it is evident from

   the trial that BASF’s breach claim turns primarily if not exclusively on interpretation of the



   6
     The Court drew an analogy between BASF’s MTEA claim and bankruptcy cases, which similarly
   involve application of U.S. laws and involve comparable public interests. May 7, 2019 Opinion
   and Order (Dkt. No. 278) at 14.
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   provisions of the contract within the four corners of that agreement, and analysis of the ’792 Patent

   and its underlying patent applications. An Australian court could therefore resolve the remaining

   breach-of-contract claim expediently. Importantly, the applicability of the statute of limitations

   on BASF’s claim—on which this Court has never articulated a ruling and which the Court did not

   submit to the jury—has not been decided on its merits and, thus, would not involve any duplication

   of efforts or waste of resources. In short, because BASF no longer claims co-inventorship under

   the MTEA, the public interest reasons the Court cited in support of its denial of CSIRO’s motion

   no longer apply.

          Lastly, the breach-of-contract claim should also have been dismissed under a traditional

   forum non conveniens analysis. As an initial matter, BASF has already litigated the majority of

   its claims and defenses in the United States. Thus, finding that the ACT courts are the appropriate

   forum for the limited purpose of adjudicating BASF’s breach-of-contract claim would not

   significantly impact Proponents’ choice of forum. Indeed, since the parties explicitly chose an

   ACT forum, litigation of the claims in Australia is the only approach that would carry out the

   parties’ expressed intentions. In addition, as discussed above, litigating BASF’s MTEA claim in

   Australia would not involve commitment of significant additional resources or effort, since the

   parties have already completed discovery and since the claims at issue primarily concern the

   contractual text and the content of the patent. Finally, as explained above, the United States does

   not have a strong interest in adjudicating BASF’s breach-of-contract claim, which concerns a

   contract formed in Australia and governed by Australian law and applied to Australian and German

   parties. The only reason that this case is pending in a federal court in Virginia is the happenstance

   that a different BASF entity (one that is not a contracting party) elected to bring declaratory

   judgment patent claims concerning different patents than the ’792 Patent in this forum. Thus, even



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   under the traditional framework, the doctrine of forum non conveniens applies here in view of

   BASF’s decision to narrow its MTEA claim to a breach-of-contract claim.

           Accordingly, for the reasons set forth above, Proponents respectfully request that the Court

   enter judgment that BASF’s claim based upon an alleged breach of the MTEA should be resolved

   in Australia, based upon the doctrine of forum non conveniens, and set aside the jury’s verdict that

   BASF is a co-owner of the ’792 Patent.

       C. A New Jury Trial on Willful Infringement is Required.

           The Court erred by ruling sua sponte that there was no triable issue on the question of

   willfulness. See generally Richardson v. Suzuki Motor Co., 868 F.2d 1226, 1250 (Fed. Cir. 1989)

   (refusal to submit willfulness question to jury was de facto JMOL), abrogated in part on other

   grounds by Robert Bosch LLC v. Pylon Mfg. Corp., 659 F.3d 1142, 1148–49 (Fed. Cir. 2011). In

   adjudicating willfulness as a matter of law, the Court stated that “the existence of the MTEA” and

   “the events that followed it,” including that BASF “brought the litigation . . . when [it and CSIRO]

   couldn’t cooperate” under the MTEA, barred any willfulness finding because such evidence

   reflected a “good-faith belief” by BASF that it “owned the patents[-in-suit].” Trial Tr. at 1926:12–

   1928:11; see also id. at 1650:9–18. The Court erred in so holding.

           First, it was for the jury as the finder of fact and not the Court to weigh the evidence and

   make the ultimate determination regarding willfulness.          Willfulness is a quintessential fact

   question for the jury to decide. Exmark Mfg. Co. Inc. v. Briggs & Stratton Power Prod. Grp., 879

   F.3d 1332, 1353 (Fed. Cir. 2018) (“[T]he entire willfulness determination is to be decided by the

   jury.”); Richardson, 868 F.2d at 1250 (“Willfulness of behavior is a classical jury question of

   intent. When trial is had to a jury, the issue should be decided by the jury.” (internal citations

   omitted)). In other words, “willfulness is an issue for the jury, not the district court.” Id.; see also



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   Liquid Dynamics Corp. v. Vaughan Co., 449 F.3d 1209, 1225 (Fed. Cir. 2006). Although the

   Court is the ultimate decision maker with regard to granting enhanced damages or attorneys’ fees

   based upon a jury verdict of willfulness, Proponents nevertheless had a “right to a jury trial on the

   willfulness question.” WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1341 n.13 (Fed. Cir. 2016); see

   also Richardson, 868 F.2d at 1250 (remanding case for trial on willfulness when district court

   declined to provide an instruction on the issue); Trial Tr. at 1927:19–21. It was the jury’s exclusive

   role to evaluate the credibility of BASF’s witnesses and decide whether BASF in fact had “a good-

   faith belief” that it owned the patents-in-suit. See, e.g., i4i Ltd. P’ship v. Microsoft Corp., 598

   F.3d 831, 860 (Fed. Cir. 2010) (“jury was free to decide for itself whether [the accused infringer]

   reasonably believed there were any substantial defenses to a claim of infringement” (citation

   omitted)), aff’d, 564 U.S. 91 (2011).

          Second, the jury certainly could have reasonably concluded that BASF’s litigation-driven,

   breach-of-contract contentions under the MTEA did not furnish a good-faith basis for the

   infringement. Cf. Trial Tr. at 1927:24–1928:9 (Court’s ruling that “I think the existence of the

   MTEA pretty much sinks any conceivable argument in support of willful infringement.”). The

   MTEA was terminated on February 28, 2010. See Trial Tr. 819:2–8; see also Chan Decl., Ex. 1

   (JX-52 (MTEA) at CSI00106413). BASF never raised its breach-of-contract theory under the

   MTEA with CSIRO until January 2019—almost nine years after the termination of the agreement

   and more than a year after it commenced this litigation. See, e.g., Trial Tr. at 1033:1–1037:14,

   1072:6–1073:23, 1215:1–1216:22, 1219:11–1220:14; see also Andy Beadle Deposition

   Designations at 52:5–8, 52:17–53:4, 53:6–8, 60:2–4, 60:10–16, 60:19–22, 61:3, 62:22–63:10,

   94:17–20, 94:22–95:5, 95:7–9, 95:12–18, 95:21–96:3, 135:21–136:5, 136:8–14, 136:17–137:1,

   137:4–11, 137:14–20, 138:5–139:3, 139:9–11, 142:8–11, 142:14–16. Moreover, as a matter of



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   law, “[p]roof of an objectively reasonable litigation-inspired defense to infringement is no longer

   a defense to willful infringement.” WBIP, 829 F.3d at 1341. Thus, notwithstanding the MTEA,

   the jury should have been permitted to decide whether Opponents have willfully infringed the

   patents-in-suit.7 See, e.g., Georgetown Rail Equip. Co. v. Holland L.P., 867 F.3d 1229, 1244 (Fed.

   Cir. 2017) (“[T]he Supreme Court issued Halo Electronics, which rejected the requirement of

   ‘finding objective recklessness in every case before district courts may award enhanced damages.’

   Now, ‘the subjective willfulness of a patent infringer, intentional or knowing, may warrant

   enhanced damages, without regard to whether his infringement was objectively reckless.’”

   (alteration and ellipses omitted) (quoting Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923,

   1932 (2016))).

          Third, when all of the evidence adduced at trial is viewed in the light most favorable to

   Proponents and all reasonable inferences are drawn in their favor, there was more than enough

   evidence to have the jury decide willfulness. See, e.g., Nat’l Presto Indus., Inc. v. W. Bend Co.,

   76 F.3d 1185, 1193 (Fed. Cir. 1996) (“All of the circumstances must be considered in

   determination of the issue of willful infringement.”); Richardson, 868 F.2d at 1250 (remanding for

   trial on willfulness where “there was sufficient evidence to take [it] to the jury, for the evidence

   [did] not require a verdict in favor of [the accused infringer]”). “The subjective willfulness of a

   patent infringer, intentional or knowing, may warrant enhanced damages, without regard to

   whether his infringement was objectively reckless.” Halo Elecs., 136 S. Ct. at 1933. A finding of



   7  At a minimum, the MTEA, which was in effect no earlier than March 1, 2008, was irrelevant to
   willful infringement of the Group A patents. Chan Decl., Ex. 1 (JX-52 (MTEA) at CSI00106411).
   The Group A patents all undisputedly are based on a 2005 patent application. Opponents could
   not have possibly believed in good faith that BASF owned the Group A patents when those patents
   claim inventions disclosed in a specification and application that pre-dates the MTEA. Thus,
   notwithstanding the MTEA, at least a new trial on willfulness as to the Group A patents is
   necessary.
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   willfulness is appropriate where the accused infringer knew or should have known that “its actions

   constituted an unjustifiably high risk of infringement of . . . valid and enforceable patent[s].” Arctic

   Cat Inc. v. Bombardier Recreational Prod. Inc., 876 F.3d 1350, 1371 (Fed. Cir. 2017) (quotation

   marks and citation omitted), cert. denied, 139 S. Ct. 143 (2018).

          Here, the evidence demonstrated that: (1) Opponents closely followed the publication and

   issuance of Proponents’ patent applications and patents; (2) BASF investigated the infringement

   and validity of Proponents’ patents as required by the freedom-to-operate provision of the

   BASF/Cargill partnership agreement (Chan Decl., Ex. 6 (JX-65)); (3) BASF knew about the Group

   A inventions and the Group A patent applications at least by 2008. Examples of this evidence

   include the following testimony and documentary evidence:

         Dr. Carl Andre (on behalf of BASF) testified that he personally maintains a spreadsheet
          that tracks all of CSIRO’s patent applications and that he reads CSIRO’s patents whenever
          they issue. Trial Tr. at 1034:7–1035:1; 1035:24–1036:2.

         Dr. Andre testified that BASF is notified within a week to a month whenever any CSIRO
          patent is published and that BASF performed an analysis of U.S. patents for Cargill as part
          of its obligations to Cargill under the BASF/Cargill partnership agreement. Id. at 1032:6–
          1033:8; id. at 1034:7–1035:1 (“Q. In fact, you said you get all the patents from CSIRO in
          this area within a week to a month, you personally do, correct? A. From all competitors,
          not just CSIRO, but including CSIRO, yes.”); id. at 998:17–19 (“When was BASF aware
          of CSIRO’s patents? A. We monitor things, and we’re usually aware within a week or a
          month after they publish.”).

         Dr. Willie Loh (on behalf of Cargill) testified that Cargill was aware of the asserted patents
          before the lawsuit was filed because Cargill became aware of them after they were
          published. Id. at 1459:9–14.

         Mark Christiansen (on behalf of Cargill) testified that Cargill filed a notice of
          indemnification against BASF approximately one year ago, which is after the asserted
          patents issued and that the indemnification notice was triggered by BASF’s failure to
          secure freedom to operate for Cargill, which meant that Cargill knew it would be infringing
          the asserted patents. Id. at 1138:2–6.

         BASF became aware of the Group A inventions in 2005, as is reflected by BASF internal
          meeting minutes from the time. See Trial Tr. at 1208:20–1213:22; Chan Decl., Ex.7 (CX-
          0267 (April 12–14, 2005 Meeting Minutes) at BASF00053407).

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         The Materials Transfer and Evaluation Agreement explicitly lists CSIRO’s
          PCT/AU2005/000571 application, which is the basis for the Group A Patents. Chan Decl.,
          Ex. 1 (JX-52 (MTEA) at CSI00106423); see also Trial Tr. at 1615:14–1617:23.

         Through the direct examination of Mr. Christiansen, Opponents discussed an October 12,
          2016 letter from Nuseed to Cargill that listed the ʼ250 Patent, which is in the same family
          as the ʼ880 Patent, ʼ357 Patent, ʼ033 Patent, and ʼ579 Patent. Chan Decl., Ex. 8 (PX-530
          (October 12, 2016 letter)); Trial Tr. at 883:21–884:2, 1119:13–1121:4.

         When BASF filed its complaint in this case, it was aware of the ʼ250 Patent. Dkt. No. 1.
          Opponents referenced that complaint during trial. Trial Tr. at 884:19–25.

         By no later than August 2018, after Proponents filed their counterclaims, Opponents had
          knowledge of the patents-in-suit. See CSIRO’s Answer to BASF’s Amended Complaint
          and CSIRO’s, GRDC’s, and Nuseed’s Counterclaims Against BASF and Cargill (Dkt. No.
          56).

          Despite their contemporaneous knowledge of the patents-in-suit and their underlying

   applications, Opponents have neither ceased nor curtailed any of their infringing conduct. See,

   e.g., Chan Decl., Ex. 9 (CX-1884 (Amended Stipulation of Infringement, Dkt. No. 692)). Indeed,

   Opponents have steadfastly engaged in, and continue to engage in, all infringing activities that are

   necessary to bring the accused products containing Elite Event LBFLFK to market as soon as

   possible. See, e.g., Chan Decl., Ex. 10 (JX-61 (BASF Deregulation Petition)); Chan Decl., Ex. 11

   (JX-59 (The First Amendment to the BASF-Cargill Commercialization Agreement)); Chan Decl.,

   Ex. 12 (PX-274 (Presentation entitled: “Pre-submission Consultation with USDA”)); Trial Tr. at

   974:13–974:18, 983:4–985:23, 1008:17–25, 1125:7–1126:11, 1139:25–1142:11, 1143:15–1144:4,

   1300:14–22, 1303:17–1305:10.

          Under similar circumstances, courts have repeatedly found that such evidence is sufficient

   to sustain a finding of willful infringement. See, e.g., Acumed LLC v. Stryker Corp., 483 F.3d 800,

   811 (Fed. Cir. 2007) (affirming willfulness judgment where, inter alia, “Stryker continued to push

   towards a United States market entry, filing its FDA application months before it received


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   Augustin’s revised legal advice”); Nat’l Presto Indus., 76 F.3d at 1193 (“The court referred to

   West Bend’s evidence relating to its assessment of the patentability of the Presto device before

   Presto’s patent was issued, observed that the jury could have disbelieved certain of this testimony,

   and mentioned the evidence of West Bend’s copying of Presto’s design. The court also referred

   to West Bend’s continuation of infringing sales after suit was filed. All of the circumstances must

   be considered in determination of the issue of willful infringement.” (citations omitted)). Although

   in this case it is clear that BASF and Cargill had knowledge both of Proponents’ issued patents

   and of their underlying applications, courts have concluded that knowledge of applications alone

   is sufficient to support a finding of willfulness. See also WCM Indus., Inc. v. IPS Corp., 721 F.

   App’x 959, 971 (Fed. Cir. 2018) (unpublished disposition) (affirming willfulness finding where

   “Mr. Humber, IPS’s employee, testified that he had monitored WCM’s products for decades and

   possessed catalogs and other literature indicating that WCM’s products were marked with ‘patent

   pending.’”); Smartflash LLC v. Apple Inc., No. 6:13CV447-JRG-KNM, 2015 WL 661276, at *1

   (E.D. Tex. Feb. 13, 2015) (“knowledge of a patent application is probative evidence of whether

   Defendants knew or should have known about the likelihood of infringement and may be

   supplemented by other disputed facts that could support a finding of willfulness by a jury.”);

   Dentsply Sirona, Inc. v. Edge Endo, LLC, No. 17-CV-1041-WJ/SCY, 2019 WL 1517584, at *4

   (D.N.M. Apr. 8, 2019) SiOnyx, LLC v. Hamamatsu Photonics K.K., 330 F. Supp. 3d 574, 609–10

   (D. Mass. 2018); Tomita Techs. USA, LLC v. Nintendo Co., No. 11-CIV-4256-JSR, 2012 WL

   2524770, at *10 (S.D.N.Y. June 26, 2012); Viskase Corp. v. Am. Nat. Can Co., 979 F. Supp. 697,

   705–06 (N.D. Ill. 1997).

          Fourth, the evidence does not support the conclusion that the MTEA coupled with BASF’s

   course of conduct leading up to the litigation concerning the patents-in-suit negated any possibility



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   of willfulness. Trial Tr. at 1926:12–1928:11; see also id. at 1650:9–18. Again, between the

   expiration of the MTEA and January 2019, BASF had ample opportunity to confront CSIRO about

   a breach of the MTEA, but never did. See, e.g., id. at 1033:1–1037:14, 1072:6–1073:23, 1215:1–

   1216:22, 1219:11–1220:14; see also Andy Beadle Deposition Designations at 52:5–8, 52:17–53:4,

   53:6–8, 60:2–4, 60:10–16, 60:19–22, 61:3, 62:22–63:10, 94:17–20, 94:22–95:5, 95:7–9, 95:12–

   18, 95:21–96:3, 135:21–136:5, 136:8–14, 136:17–137:1, 137:4–11, 137:14–20, 138:5–139:3,

   139:9–11, 142:8–11, 142:14–16. That is because nobody at BASF had any good-faith belief that

   CSIRO and BASF created any Joint New Results—as that term is defined in the MTEA—let alone

   that any Joint New Results were claimed by CSIRO in any of the patents-in-suit. See id. at 1033:1–

   1037:14, 1072:6–1073:23, 1215:1–1216:22, 1219:11–1220:14, 1230:4–1231:7, 1231:14–16,

   1241:5–11, 1249:10–1251:24, 1262:10–19, 1263:9–19 , 1264:1–1265:7, 1424:12–1425:20; see

   also Chan Decl., Ex. 13 (CX-0349 (July 2015 Email Chain); Chan Decl., Ex. 14 (CX-1287

   (September 2016 Email Chain)); Chan Decl., Ex. 15 (PX-263 (September 2006 Meeting Notes)).

   Additionally, there is no evidentiary support for the finding that BASF brought this litigation

   because BASF and CSIRO “couldn’t cooperate” under the MTEA. Trial Tr. at 1928:4–5. The

   alleged jurisdictional basis for BASF’s declaratory judgment action was a breakdown in the

   parties’ business and licensing negotiations between September 2016 and April 2017—not a

   failure to cooperate under the MTEA. See Complaint (Dkt. No. 1) ¶¶ 22–32.

          In sum, a new trial on willfulness (at least as to the Group A patents) is needed because the

   Court erred by: (1) usurping the jury’s fact-finding role as to willfulness; (2) relying upon BASF’s

   litigation-driven, breach-of-contract defense under the MTEA; (3) not considering the evidence in

   the light most favorable to Proponents and drawing inferences in their favor; and (4) making

   findings that were not supported by the evidentiary record.



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       D. A New Jury Trial on a Reasonable Royalty for Past Infringement is Required.

          It was also legal error to preclude the introduction of evidence concerning a reasonable

   royalty for past infringement and ultimately to dismiss the jury during the remedies phase,

   notwithstanding Proponents’ proffer reflecting sufficient evidence of a reasonable royalty.

          The Court reasoned that the jury did not need to decide the issue of a reasonable royalty as

   to past infringement because: (1) neither Proponents nor Opponents have made any sales yet of

   any product that are embodiments of the asserted claims of the patents-in-suit; (2) Proponents’

   damages expert, Mr. John Jarosz, did not apportion a royalty rate among the Group A patents; and

   (3) Mr. Jarosz’s range for a reasonable royalty—12% to 49%—was too large. See Trial Tr. at

   1821:22–1827:11, 2238:19–2255:11. None of these reasons justified the Court’s discharge of the

   jury as to a reasonable royalty and past damages.

          As an initial matter, Proponents were statutorily entitled to no less than a reasonable royalty

   as soon as the jury found infringement.8 The Federal Circuit “made clear in Dow Chemical Co. v.

   Mee Indus., Inc., 341 F.3d 1370, 1381 (Fed. Cir. 2003), 35 U.S.C. § 284 requires the district court

   to award damages ‘in an amount no less than a reasonable royalty’ even if the [plaintiff] has no

   evidence to proffer.” Info-Hold, Inc. v. Muzak LLC, 783 F.3d 1365, 1371–72 (Fed. Cir. 2015)

   (citations omitted); see also Dow Chem., 341 F.3d at 1381–82 (“The statute is unequivocal that

   the district court must award damages in an amount no less than a reasonable royalty. . . . The

   district court’s conclusion that no damages could be awarded, in light of the presumption of

   damages when infringement is proven, was in error.” (citations omitted)); Lindemann




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     To be clear, if the Court were to grant JMOL in favor of Proponents on other patents such that
   infringement becomes relevant (e.g., no invalidity and/or no co-ownership), then a new trial on
   willfulness is also required for those patents. All arguments herein apply with equal force to those
   patents.
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   Maschinenfabrik GmbH v. Am. Hoist & Derrick Co., 895 F.2d 1403, 1406 (Fed. Cir. 1990) (“In

   patent law, the fact of infringement establishes the fact of damage because the patentee’s right to

   exclude has been violated.”). Even where a patent holder presents “flawed” evidence of a

   reasonable royalty or no evidence at all, the patent holder is still entitled to have the jury decide a

   reasonable royalty. Apple Inc. v. Motorola, Inc., 757 F.3d 1286, 1329–30 (Fed. Cir. 2014),

   overruled in part on other grounds by Williamson v. Citrix Online, LLC, 792 F.3d 1339 (Fed. Cir.

   2015) (“the district court’s conclusion that Apple’s HTC-based estimate was flawed does not

   establish, as a matter of law, a zero royalty . . . . Even if Apple had not submitted expert evidence,

   this alone would not support a finding that zero is a reasonable royalty.”).

           Proponents’ entitlement to a jury verdict on past damages included an entitlement to have

   the jury enter a verdict concerning a reasonable royalty. See, e.g., Apple, 757 F.3d at 1315 (“This

   court has recognized that questions regarding which facts are most relevant or reliable to

   calculating a reasonable royalty are ‘for the jury.’” (citation omitted)); i4i Ltd. P’ship, 598 F.3d at

   856 (“Questions about what facts are most relevant or reliable to calculating a reasonable royalty

   are for the jury. The jury was entitled to hear the expert testimony and decide for itself what to

   accept or reject.” (citation omitted)).

           Here, before the jury was discharged, Proponents proffered that Mr. Jarosz would explain

   that the relevant royalty rate would be calculated by applying a royalty rate derived from CSIRO’s

   executed license to the patents-in-suit to the royalty base consisting of the amount of infringing oil

   that Opponents have produced to date and the market price for that oil. Trial Tr. at 2247:15–22;

   see also Proponents’ Trial Brief Regarding the Presentation of Past Damages Evidence to the Jury

   (Dkt. No. 769) at 2 (discussing use of prevailing fish oil price as a basis for calculation of the

   royalty base); Counterclaimants’ Opposition to BASF and Cargill’s Daubert Motion to Exclude



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   Portions of the Testimony of Dr. Ljerka Kunst and Mr. John Jarosz (Dkt. No. 531) at 20–21

   (similar). The royalty rate was based upon Proponents’ own license—the only patent license that

   covers the Group A patents—as well as the parties’ documents regarding projected sales and

   profits of their respective embodiments of the asserted claims. Trial Tr. at 2247:15–2248:13; see

   also Counterclaimants’ Opposition to BASF and Cargill’s Daubert Motion to Exclude Portions of

   the Testimony of Dr. Ljerka Kunst and Mr. John Jarosz (Dkt. No. 531) at 18–19. When all of the

   evidence is viewed in the light most favorable to Proponents, there was more than enough from

   which the jury could have calculated a reasonable royalty rate for past damages.

           The Court also erred prior to the jury’s dismissal by preventing Proponents from

   introducing evidence concerning a reasonable royalty for past damages that was based upon

   Proponents’ licensing agreement and not based upon Proponents’ actual economic loss (i.e., lost

   profits). Section 284 is clear that the patent holder is entitled to “no less than” a reasonable royalty.

   E.g., AstraZeneca AB v. Apotex Corp., 782 F.3d 1324, 1329–30 (Fed. Cir. 2015) (“The two

   ‘alternative categories of infringement compensation’ under section 284 are ‘the patentee’s lost

   profits and the reasonable royalty he would have received through arms-length bargaining.’”

   (quoting Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1324 (Fed. Cir. 2009))). Actual

   economic loss is not a prerequisite for recovery of damages in a patent suit. See id. (“The

   reasonable royalty theory of damages . . . seeks to compensate the patentee not for lost sales caused

   by the infringement, but for its lost opportunity to obtain a reasonable royalty that the infringer

   would have been willing to pay if it had been barred from infringing.”). Indeed, Georgia-Pacific

   Factor 1 provides that the rates paid to the patentee for a license to the patent-in-suit is primary

   evidence of a reasonable royalty. That is precisely what Proponents sought to do here: demonstrate

   a reasonable royalty rate by introducing evidence of the rate provided in a license to the patents-



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   in-suit. However, the Court imposed a requirement that evidence of past damages must be derived

   from calculations of economic loss. Compare, e.g., Trial Tr. at 2241:21–2242:4 (Court: “[Y]ou

   have to start with how much it cost to produce the oil and how much went into research. . . . How

   much did it cost you to research it, how many plants does it take to produce a given amount of oil,

   how much does it cost, how much do you have to pay the farmers to do that.”) and id. at 2243:1–

   5 (“[T]hat’s what they’ve done in the past. They’ve spent money raising them. That’s the number

   that we ought to have, how much it cost them to raise the product, how much oil was produced for

   what costs in the past.”), with Apple, 757 F.3d at 1315 (“[T]here may be more than one reliable

   method for estimating a reasonable royalty. . . . All approaches have certain strengths and

   weaknesses and, depending upon the facts, one or all may produce admissible testimony in a single

   case. It is common for parties to choose different, reliable approaches in a single case and, when

   they do, the relative strengths and weaknesses may be exposed at trial or attacked during cross-

   examination. That one approach may better account for one aspect of a royalty estimation does

   not make other approaches inadmissible. . . . The fact that one of these methods may be said to

   more accurately value this aspect of a reasonable royalty calculation does not, necessarily, make

   the other approach inadmissible.”) and i4i Ltd. P’ship, 598 F.3d at 856.

          It was up to the jury to decide what the appropriate royalty rate was in the range of royalties

   proffered by Mr. Jarosz and/or based upon evidence introduced by Opponents. See, e.g., Hogg v.

   Emerson, 52 U.S. 587, 608, (1850) (“The further general suggestion by the judge, to give only the

   actual damages, was well calculated to prevent any thing vindictive or in excess, and justified the

   jury to go still lower than they did, if appearing just to them, and as has sometimes been done in

   this class of cases.   That, however, was a matter of discretion for the jury, under all the

   circumstances, and not a question of law for the court.” (citation omitted)); Micro Chem., Inc. v.



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   Lextron, Inc., 317 F.3d 1387, 1394 (Fed. Cir. 2003) (“The amount of damages based on a

   reasonable royalty is an issue of fact.” (citation omitted)). Thus, in light of the Court’s de facto

   award of a zero percent royalty rate for infringement of valid patents, and despite the statutory

   presumption of damages once infringement is found under § 284, a new trial on past damages is

   warranted. See Apple, 757 F.3d at 1328 n.7 (“We note that we know of no case where we found

   that the record supported an infringement award of a zero royalty.” (citations omitted)).

          The Court’s other reasons for barring the jury from deciding past damages and a reasonable

   royalty also were premised upon legal error. First, that no commercial embodiments have been

   sold by any party does not prevent the calculation of a reasonable royalty. See Siemens Med. Sols.

   USA, Inc. v. Saint-Gobain Ceramics & Plastics, Inc., 637 F.3d 1269, 1290 (Fed. Cir. 2011) (error

   and abuse of discretion by district court to not determine reasonable royalty for accused products

   that were manufactured but not sold); Embrex, Inc. v. Serv. Eng’g Corp., 216 F.3d 1343, 1350

   (Fed. Cir. 2000) (“[T]he only cognizable infringement in this case is the testing and those tests

   were not shown to cause any loss of profits to Embrex . . . . However, under 35 U.S.C. § 284,

   Embrex ‘in no event’ loses entitlement to a reasonable royalty for SEC’s infringing tests. Royalties

   are ordinarily computed based upon the sales of a patented product or process. However, parties

   may choose other methods to compute the amount that a licensee may pay for the right to use a

   patented product or process, such as flat fees or milestone payments in the case of pre-

   commercialization licenses.”); see also Deepwater Drilling, Inc. v. Maersk Drilling USA, Inc., 699

   F.3d 1340, 1357 (Fed. Cir. 2012) (“The court also erroneously stated that a reasonable royalty is

   an improper measure of damages because Transocean presented no evidence of actual harm or that

   it lost an opportunity to sell or use its patented invention due to losing the Statoil contract to

   Maersk.”).



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          Second, precedent does not require an apportionment of damages among the Group A

   patents. Where, as here, each of the Group A patents covers all of the accused products entirely,

   no apportionment is necessary. Stickle v. Heublein, Inc., 716 F.2d 1550, 1562 n.8 (Fed. Cir. 1983)

   (“Since the parties treated the mechanical and process patents as a unitary licensing property, we

   need not consider damages for infringement of each patent individually.”); see also Chrimar

   Holding Co., LLC v. ALE USA Inc., 732 F. App’x 876, 886–87 (Fed. Cir. 2018) (unpublished

   disposition) (a new trial on damages was not required because all of the asserted patents covered

   the same accused product and the same smallest saleable patent-practicing units); Honeywell Int’l

   Inc. v. Universal Avionics Sys. Corp., 426 F. Supp. 2d 211, 225 (D. Del. 2006) (“The court finds

   that a reasonable jury could agree with Davis’ testimony concerning why her estimation of royalty

   rates for the five look-ahead patents was the same as that for the single ’436 patent. Whether one

   patent or five is necessary for a product, an infringer cannot sell its product without a license.”),

   aff’d, 493 F.3d 1358 (Fed. Cir. 2007); Counterclaimants’ Opposition to BASF and Cargill’s

   Daubert Motion to Exclude Portions of the Testimony of Dr. Ljerka Kunst and Mr. John Jarosz

   (Dkt. No. 531) at 13–15.

          Third, it is not improper for Mr. Jarosz to proffer testimony about a range of reasonable

   royalties for the jury to consider in calculating a reasonable royalty rate. Summit 6, LLC v.

   Samsung Elecs. Co., 802 F.3d 1283, 1296 (Fed. Cir. 2015) (“This court has recognized that

   estimating a reasonable royalty is not an exact science. The record may support a range of

   reasonable royalties, rather than a single value.”); Apple, 757 F.3d at 1315 (same); Powell v. Home

   Depot U.S.A., Inc., 663 F.3d 1221, 1241 (Fed. Cir. 2011). Because the Court did not exclude Mr.

   Jarosz’s royalty opinions, it was for the jury to weigh those opinions and determine a reasonable

   royalty on that basis. Cf. Apple, 757 F.3d 1286 at 1328 (“[S]imply because a patentee fails to show



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   that its royalty estimate is correct does not, by itself, justify awarding a royalty of zero at summary

   judgment, as the district court did here.” (citation omitted)); i4i Ltd. P’ship, 598 F.3d at 856.

          Proponents’ request that a jury be permitted to rule on a reasonable royalty rate is critical

   not only to a determination of past damages but, more importantly, to the determination of an

   ongoing royalty. The jury’s determination on a reasonable royalty would set a floor in this case

   for an ongoing royalty rate, and therefore the jury’s verdict should have been considered by the

   Court before ruling on prospective relief. In XY, LLC v. Trans Ova Genetics, 890 F.3d 1282,

   1296–98 (Fed. Cir. 2018), the Federal Circuit held that a district court abused its discretion by

   adopting an ongoing royalty rate that was lower than the royalty rate adopted by the jury. The

   Court agreed that doing so would put the patentee in a worse position than if it were to “forgo[]

   the [judge’s] 12.5% ongoing royalty and [sue the infringer] repeatedly for future infringement at

   the jury’s 15% reasonable royalty rate.” Id. at 1298. Here, this Court ruled that the royalty rate

   for post-verdict infringement would be higher than the pre-verdict rate, see Trial Tr. at 2630:12–

   25, and therefore the jury’s royalty rate would have set the floor for the ongoing royalty, see XY,

   890 F.3d at 1297 (“[T]here is a ‘fundamental difference’ between ‘a reasonable royalty for pre-

   verdict infringement and damages for post-verdict infringement.’ For example, when calculating

   an ongoing royalty rate, the district court should consider the ‘change in the parties' bargaining

   positions, and the resulting change in economic circumstances, resulting from the determination

   of liability.’ When patent claims are held to be not invalid and infringed, this amounts to a

   ‘substantial shift in the bargaining position of the parties.’ (quoting Amado v. Microsoft Corp., 517

   F.3d 1353, 1360, 1362 (Fed. Cir. 2008); ActiveVideo Networks, Inc. v. Verizon Commc’ns, Inc.,

   694 F.3d 1312, 1342 (Fed. Cir. 2012))); see also Artic Cat, 876 F.3d at 1379. As such, the Court

   should not only order a new jury trial on the question of past damages and a reasonable royalty,



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   but also should thereafter reconsider its ongoing royalty ruling in light of the jury’s verdict.9

   IV.    CONCLUSION

          For the foregoing reasons, the Court should enter judgment as a matter of law or grant a

   new trial as to the MTEA claim, and grant a new trial as to willfulness and royalties on past

   infringement.


   DATED: December 2, 2019                        Respectfully submitted,

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     Out of an abundance of caution, Proponents seek the same relief under Rule 59(d) and (e), i.e.,
   vacate the judgment of a zero percent royalty rate and have a new trial on past damages.
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                                            Certificate of Service

             I hereby certify that on December 2, 2019 I electronically filed the foregoing with the Clerk

   of Court using the CM/ECF system, which will send notification of such filing to all counsel of

   record.




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